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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 17-697-SJO

14              Plaintiff,                    GOVERNMENT’S RESPONSE TO DEFENDANT
                                              DANIEL FLINT’S SENTENCING POSITION
15                    v.
                                              Hearing Date: September 16, 2019
16   DANIEL FLINT,                            Hearing Time: 10:00 a.m.
                                              Location:     Courtroom of the
17              Defendant.                                  Hon. S. James Otero

18

19

20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Ian V. Yanniello and
23   Christine M. Ro, hereby files its Response to Defendant Daniel
24   Flint’s Sentencing Position.
25   //
26   //
27   //
28
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 1         This position is based upon the attached memorandum of points

 2   and authorities, the files and records in this case, the Presentence

 3   Investigation Report, and such further evidence and argument as the

 4   Court may permit.

 5    Dated: September 12, 2019            Respectfully submitted,

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10                                              /s/
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 1   I.    GOVERNMENT’S RESPONSE TO DEFENDANT’S OBJECTIONS TO THE PSR
 2         Defendant Daniel Flint defrauded Transportation Security

 3   Administration (“TSA”) officers and evaded TSA security checkpoints

 4   in order to transport over $140,000 in cash to Los Angeles and

 5   through the Los Angeles International Airport (“LAX”).            As the

 6   government has previously explained, because of the aggravating

 7   circumstances in this case -- defendant’s use and abuse of his status

 8   as an attorney to execute the fraud, his use of manufactured and

 9   phony diplomatic documents, and the national security implications

10   raised by defendant’s purposeful evasion of airport security -- the

11   government has requested an upward variance and a custodial sentence

12   of 14 months’ incarceration.

13         On August 21, 2019, defendant filed his sentencing position,

14   which made various objections to the Presentence Investigation Report

15   (“PSR”).    (See Dkt. 157.)     The objections are meritless and should be

16   overruled.

17         A.     The PSR Correctly Identifies the IHRC as a “Purported”
18                International Organization Based in Pakistan
19
           Defendant objects to the word “purported” when describing the
20
     organization he was allegedly working for when he evaded airport in
21
     July 2017.    The objection should be overruled.        As the government
22
     explained at length in its opposition to defendant’s motion for
23
     acquittal, to execute the fraud, defendant used a self-laminated
24
     “diplomat card” which clearly stated the “IHRC HEADQUARTERS” was
25
     located at “P.O. Box 1997” in “Islamabad-Pakistan.”           (Dkt. 147 at 6;
26
     see also Dkt. 164 [Addendum to PSR] at 2.)          During the government’s
27
     investigation, the FBI located various websites allegedly linked to
28
     the “International Human Rights Commission” that contained
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 1   conflicting information about the purported organization and its

 2   alleged control persons.      (See, e.g., Trial Exs. 1 [“diplomatic card”

 3   referencing “www.ihrchq.org”]; 4 [courier letter references

 4   “www.ihrc.us”].)     In fact, when defendant was interviewed by the FBI

 5   in July 2017, he directed agents to a website allegedly linked to his

 6   organization and then disclaimed knowledge of the individuals listed.

 7   (See Dkt. 91-1 [“I’ve never seen him before, has it changed?             That’s

 8   news to me.    When I saw the website Mr. Shumake’s face was on there

 9   and it should probably be on there.”].)         In July 2017, defendant was

10   not working for a bonafide diplomatic organization; he was committing

11   fraud.     Defendant’s objection should be overruled.

12         B.     Defendant Manufactured His “Diplomatic Card”
13         To commit the fraud, defendant presented a self-laminated

14   “diplomat card,” his driver’s license, and his attorney bar card to

15   various TSA officers.      The evidence at trial was undisputed that

16   defendant helped manufacture the purported “diplomat card.”            (See

17   Dkt. 147 at 12; Trial Ex. 58 [“I laminated it because I didn’t want

18   it to get wore out”]; see also Dkt. 164 [Addendum to PSR] at 2.)

19   Defendant put his identification card together and finished his

20   product.    Thus, the Court should therefore reject defendant’s claim

21   that “[l]aminating is not the same as manufacturing.”

22         C.     Contrary to Defendant’s Position, the Court Should Consider
23                All Relevant Information for Sentencing Purposes
24

25         Before defendant used fake diplomatic credentials, he was
26   involved in another attempt to transport currency through an airport.
27   In August 2016, law enforcement seized $170,000 from Douglas Hampton
28   at the Atlanta International Airport.         (See PSR at 8 n.4.)     Hampton
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 1   used an IHRC letter -- similar to the courier letters defendant used

 2   in July 2017 -- directing that law enforcement contact “Daniel C.

 3   Flint, Esq.” the “General Counsel” for the IHRC if they had any

 4   questions.    (Id.; see Dkt. 57 [06/21/18 order granting in part the

 5   government’s motion in limine] at 2-3.)

 6         Defendant asks the Court to strike information about the August

 7   2016 seizure because “it exceeds the evidence in the trial record and

 8   lacks foundation.”     The request should be denied.        First, the parties

 9   previously submitted evidence and litigated the admissibility of the

10   August 2016 seizure in connection with the government’s motion in

11   limine (Dkt. 35) and its motion to reconsider the same (Dkt. 105).

12   Thus, defendant’s foundation argument provides no basis to strike the

13   information from the PSR.       (See, e.g., Dkt. 57 at 2-3.)

14         Moreover, the Court must consider all relevant information for

15   sentencing purposes, not merely evidence that was presented at trial.

16   See United States v. Vanderwerfhorst, 576 F. 3d 929, 935 (9th Cir.

17   2009) (“[T]he district court may consider a wide variety of

18   information at sentencing that could not otherwise be considered at

19   trial” and “is not bound by the rules of evidence.”); 18 U.S.C.

20   § 3661 (“No limitation shall be placed on the information concerning

21   the background, character, and conduct of a person convicted of an

22   offense which a court of the United States may receive and consider

23   for the purpose of imposing an appropriate sentence.”).            Here, that

24   defendant was involved in another failed attempt to transport money

25   through an airport using the IHRC ruse is relevant and should be

26   considered.    It provides context about both defendant’s role in the

27   scheme and it explains why he evaded airport security using fake

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 1   diplomatic credentials and a “diplomatic pouch” (i.e., he knew the

 2   money would likely be seized if it was found by law enforcement).1

 3         D.    The PSR Correctly Applied the Two-Level Enhancement Because
 4               Defendant Used Specialized Skills to Execute the Fraud
 5
           Defendant concedes he identified himself as an attorney to TSA
 6
     officers, but claims his “status as an attorney had no bearing
 7
     whatsoever on TSA’s decision” to let him pass through security.
 8
     (Dkt. 157 at 8-9.)     This argument is meritless.
 9
           USSG § 3B1.3 provides for a two-level enhancement if the
10
     defendant “abused a position of public or private trust, or used a
11
     special skill, in a manner that significantly facilitated the
12
     commission or concealment of the offense.”          U.S.S.G. § 3B1.3; see id.
13
     at n.4 (“‘Special skill’ refers to a skill not possessed by members
14
     of the general public and usually requiring substantial education,
15
     training or licensing. Examples would include pilots, lawyers,
16
     doctors, accountants ...”).
17
           Here, the PSR correctly found that defendant used specialized
18
     skill and abused his status as an attorney to facilitate the fraud.
19
     When defendant made contact with TSA officers at the Chicago
20
     airports, he immediately presented himself as an attorney and “Legal
21
     Counsel & Diplomatic Courier” for the IHRC.          (See Trial Ex. 1
22
     [Laminated IHRC Card].)      Defendant showed TSA officials his Michigan
23
     bar card -- an identification card demonstrating that defendant was
24
     an attorney and member of the Michigan bar -- which enhanced
25
     defendant’s overall credibility because TSA officers, like the
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27
           1In August 2016, the money was located inside baggage and it
28   appears that Hampton did not present a diplomatic identification
     card.
                                        4
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 1   general public, expect attorneys to comply with the law and their

 2   ethical responsibilities.       See, e.g., United States v. Fitzhugh, 78

 3   F.3d 1326, 1332 (8th Cir. 1996) (“Fitzhugh’s status as an attorney

 4   shrouded the [transactions] with a presumption of regularity, and

 5   thus contributed significantly to facilitating the commission of the

 6   fraud, and his offense harmed the legal system he was sworn to

 7   uphold. In these circumstances, the district court did not err in

 8   imposing the § 3B1.3 enhancement.” (citation omitted)).            Moreover, by

 9   first identifying himself as an attorney and providing his driver’s

10   license and bar card -- bonafide credentials -- defendant furthered

11   the fraud by reducing the chances that TSA officers would closely

12   scrutinize his phony diplomatic credentials.

13         Additionally, throughout his two-hour interview with the FBI,

14   defendant repeatedly claimed he was legal counsel to the IHRC and

15   asserted attorney-client privilege to avoid answering questions that

16   would likely incriminate defendant.         (See, e.g., Dkt. 91-1 at 21.)

17   He told the FBI several times that he was authorized to travel with

18   the diplomatic pouch based on research he had conducted.            At trial,

19   TSA officers also testified that defendant appeared to know exactly

20   what criteria the TSA would be looking for when screening a diplomat

21   at a security checkpoint.       (See, e.g., Dkt. 118 [Testimony of TSA

22   Manager Raja Wondrasek] at 262 [“So basically he was volunteering ...

23   [defendant] would like volunteer [information] throughout the whole

24   process and just point to what I’m asking [TSA Officer Stone]”

25   about).   Under these circumstances, the § 3B1.3 enhancement applies

26   because defendant used specialized skills to significantly facilitate

27   and conceal the offense.      See United States v. Christensen, 828 F.3d

28   763, 817 (9th Cir. 2015) (“Christensen was an attorney. That position

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 1   was a position of trust. The application notes to § 3B1.3 explicitly

 2   state that lawyers have a ‘special skill’ as that term is used in the

 3   section.”); see also United States v. Goldman, 447 F.3d 1094, 1096

 4   (8th Cir. 2006) (“Use of knowledge gained as an attorney to commit a

 5   crime subjects a defendant to an enhancement for abuse of a position

 6   of public trust under USSG § 3B1.3.”).

 7   II.   CONCLUSION
 8         For the foregoing reasons, the government respectfully requests

 9   that this Court overrule defendant’s objections to the PSR.

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